

Matter of Griffith (2021 NY Slip Op 04640)





Matter of Griffith


2021 NY Slip Op 04640


Decided on August 5, 2021


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:August 5, 2021

PM-100-21
[*1]In the Matter of Catherine Corrine Griffith, an Attorney. (Attorney Registration No. 5527650.)

Calendar Date:August 2, 2021

Before:Garry, P.J., Lynch, Clark, Pritzker and Colangelo, JJ.

Catherine Corrine Griffith, Eustis, Florida, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Catherine Corrine Griffith was admitted to practice by this Court in 2017. Griffith now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Griffith's application.
Upon reading Griffith's affidavit sworn to May 21, 2021 and filed May 28, 2021, and upon reading the July 26, 2021 correspondence in response by the Chief Attorney for AGC, and having determined that Griffith is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Garry, P.J., Lynch, Clark, Pritzker and Colangelo, JJ., concur.
ORDERED that Catherine Corrine Griffith's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Catherine Corrine Griffith's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Catherine Corrine Griffith is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Griffith is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Catherine Corrine Griffith shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








